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                   EXHIBIT A
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          Last Name               First Name
AHMED                         JEWEL
ARANGO-SEPULVEDA              BRAYAN
AUGUSTO                       PEDRO
CHAVEZ CHAVEZ                 MARCOS
CUBA                          PEDRO
DA SILVA                      WASHINGTON
DUMAGUALA-PACHECO             FAUSTO
FELICIANO DASILVA             KAIANY
GOMEZ LOPEZ                   APARISIO
GOMEZ-AYALA                   DANILO
HERNANDEZ MENDEZ              JOSE
HOSSAIN                       SAKHAWAT
KATAMBWA                      PATRICK
KHAN                          NAZIM
KIKWETA                       GLOIRE
LOMBO                         WELO
LOPEZ DE LA CRUZ              EDRAS
MARTIN-SOLIS                  GALINDO
MEDEIROS                      JOSE
MELES                         SELEMUN
MONTILLA SOTO                 ESQUELIN
NEZALI                        NASSIM
NUNEZ-PEREZ                   ROGNI
PAGUAY POMAVILLA              JOSE
PEDROZA CANTE                 ARGELIO
PEREZ                         CARLOS
POJOY CALEL                   HECTOR
RAMIREZ LOPEZ                 DAMIAN
REYES CASTILLO                JONATHAN
RODRIGUEZ MARTINEZ            JOSE
SALGUERO-SANCHEZ              RUDY
SANTOS                        CARLOS
SILVA SOARES                  VICTOR
SINGH                         MANINDER
TOVAR-SANCHEZ
                              JUAN CARLOS
(aka: Castellanos-Gonzalez)
VASCO                         KABOMBO MAFUTA
